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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

in re:
RMH Franchise Holdings, Inc., et al.,

Debtors.

DINE BRANDS GLOBAL, INC.,
APPLEBEE’S RESTAURANTS LLC, and
APPLEBEE’S FRANCHISOR LLC,

Plaintiffs,

Vv.

RMH FRANCHISE HOLDINGS, INC.,
NULNK, INC., RMH ILLINOIS, LLC,
RMH FRANCHISE CORP., and
CONTEXT RESTAURANTS, INC.,

Defendants,

and

BANK OF AMERICA, N.A., as Administrative
Agent, Collateral Agent and L/C Issuer, and THE
OFFICIAL COMMITTEE OF UNSECURED

CREDITORS,

Intervenors.

Chapter 11
Case No. 18-11092 (BLS)
Jointly Administered

Adv. Proc. No. 18-50481 (BLS)

Re: Docket Nos. 38, 39, 40, 49, 50,
51, 55, 56, 68, 70, 71, & 77

ORDER AND FINAL JUDGMENT

On May 16, 2018, Dine Brands Global, Inc., Applebee's Restaurants LLC, and Applebee's

Franchisor LLC (collectively, the "Franchisor" filed Applebee 's Motion to Modify the

Automatic Stay [Docket No. 91] (the "Lift Stay Motion"), secking a declaratory judgment that

the franchise agreements (the "Franchise Agreements") with the above-captioned debtors and

debtors in possession (the "Debtors") had terminated prepetition.

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On May 23, 2018, the Court held a telephonic hearing on the Lift Stay Motion and ruled that

the relief requested by the Franchisor was properly presented by way of an adversary proceeding.

On May 25, 2018, the Franchisor commenced this Adversary Proceeding by filing the
Complaint [Adv. Docket No. 1], alleging that it had terminated the Debtors' Franchise
Agreements prior to the Petition Date.

On June 19, 2018, the Debtors filed the Debtors’ Answer and Counterclaims to Applebee's
Complaint [Adv. Docket No. 7] (the "Answer and Counterclaims"). In the Counterclaims, the
Debtors alleged, among other things, that the Franchisor's purported termination of the Franchise
Agreements was improper and ineffective.

On July 17, 2018, the Franchisor filed its motion for summary judgment [Adv. Docket No.
38] (the "Franchisor's Motion for Summary Judgment") and accompanying brief [Adv. Docket
No, 39] and supporting affidavit [Adv Docket No. 40].

On July 27, 2018, the Debtors filed their cross-motion for summary judgment [Adv. Docket
No. 49] (the "Cross-Motion") and brief in support of the Cross-Motion and in opposition to the
Franchisor's Motion for Summary Judgment [Adv. Docket No. 50] (the "Debtors' Opening
Brief”). The Cross-Motion and Debtors' Opening Brief were accompanied by a number of
supporting affidavits [Adv. Docket Nos. 51, 52, 53].

On July 31, 2018, the official committee of unsecured creditors (the "Committee") and Bank
of America, N.A. filed joinders to the Debtors' Cross-Motion [Adv. Docket Nos. 55, 56].

On August 10, 2018, the Franchisor filed its reply brief in support of the Franchisor's Motion
for Summary Judgment and in opposition to the Cross-Motion [Adv. Docket No. 68].

On August 17, 2018, the Debtors filed their reply brief in support of the Cross-Motion and in

opposition to the Franchisor's Motion for Summary Judgment [Adv. Docket No. 71]. The

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Committee also filed a response in support of the Cross-Motion and in opposition to the
Franchisor's Motion for Summary Judgment [Adv. Docket No. 70].

On September 12, 2018, the Court heard oral argument on the competing motions for
summary judgment (the "Summary Judgment Motions") and took the matter under advisement.

On September 25, 2018, the Court issued its Opinion |Adv. Docket No. 77] that (i) granted
the Debtors’ Cross-Motion, (ii) denied the Franchisor's Motion for Summary Judgment, and (iii)
requested that the parties confer and submit a form of judgment order consistent with the Court's
ruling within seven days.

Upon consideration of the Summary Judgment Motions, pursuant to Rule 56 of the Federal
Rules of Civil Procedure, made applicable to this adversary proceeding by Rule 7056 of the
Federal Rules of Bankruptcy Procedures; and upon consideration of the papers filed in support
of, and apposition to, the Summary Judgment Motions; and upon all of the proceedings had
before this Court, including oral argument on September 12, 2018; and after due deliberation and
sufficient cause appearing therefor; and for the reasons set forth in, and in accordance with, the
Court's Opinion dated September 25, 2018 [Adv. Docket No. 77],

IT IS HEREBY ORDERED that:

1. Pursuant to Rule 56 of the Federal Rules of Civil Procedure, made applicable to
this proceeding through Bankruptcy Rule 7056, the Debtors' Cross-Motion for Summary
Judgment [Adv. Docket No. 49] is hereby GRANTED with respect to Count VI of the Debtors’
Answer and Counterclaims [Adv. Docket No. 7] and all Counts of Franchisor's Complaint [Adv.

Docket No. 1].

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2. Pursuant to Rule 56 of the Federal Rules of Civil Procedure, made applicable to
this proceeding through Bankruptcy Rule 7056, Applebee's Motion for Summary Judgment
[Adv. Docket No. 38] is hereby DENIED.

3. This Court finding that there is no just reason for delay of entry of a final
judgment, pursuant to Bankruptcy Rule 7054(a) and Federal Rule of Civil Procedure 54(b), final
judgment is hereby entered for the Debtors and against the Franchisor on Count VI of the
Debtors! Answer and Counterclaims [Adv. Docket No. 7] and all Counts of Franchisor's
Complaint [Adv. Docket No. 1].

4, The Court will conduct a further pretrial conference on November 19, 2018 at
10:00 a.m. to discuss an appropriate schedule for the remaining litigation in this adversary
proceeding, outstanding or proposed discovery, attorney’s fees issues, and any remaining

matters.

Dated: October 10, 2018
Wilmington, Delaware

By the Court:

Kee

SRNNDAN NINRHAN SHANNON
UNITED STATES BAN TCY JUDGE

